        MAGISTRATE JUDGE HOLMES COURTROOM MINUTES FOR CRIMINAL PROCEEDINGS
                                by VIDEOCONFERENCE

U.S.A. v.      4Ai~            Z    -A g                                          , No.

ATTORNEY FOR GOVERNMENT:

ATTORNEY FOR DEFENDANT:                      Gn                        J                   AFPD      Panel      Retained

PRETRIAL SERVICES/PROBATION OFFICER:
                                                               \\
INTERPRETER NEEDED?             YES     NO        LANGUAGE/INTERP TER:
                                                  ❑ PRESENT       ❑ ON TELEPHONE

    INITIAL APPEARANCE ❑ ON A SUMMONS                       ARRESTED ON:
        DEFENDANT HAS A COPY OF:
          'Complaint ❑ Indictment ❑ Information ❑ Supervised Release Pet. ❑ Other
           Defendant advised of the charges and the maximum penalties
        ❑ Defendant has a copy of notice of rights
           Defendant advised of right to counsel                        El Counsel retained


      o
            efendant sworn and/or certified under penalty of perjury and financial affidavit filed )FPD Appointed
            efendant advised of right to silence
            efendant advised of right to Consular notification
           GOVERNMENT and DEFENDANT advised of Due Process Protections Act of 2020
       0-Government motion for detention
           Defendant temporarily detained                               ❑ ICE detainer on defendant
        ❑ Defendant waived detention hearing                            ❑ Defendant reserved right to hearing in future
        ❑ Defendant to remain in Federal custody
        ❑ Defendant to be returned to State custody                     ❑ Defendant waived rights under IAD
      X  I Defendant advised of right to preliminary hearing
        ❑ Defendant ordered to psychological/psychiatric evaluation
                                                                        ❑ Defendant waived preliminary hearing

        ❑ Defendant to remain on current conditions of supervised release
        ❑ Defendant released on:
                ❑ Own recognizance with conditions of release ❑ standard         ❑ special
                ❑ Appearance bond in the amount of:
                ❑ Property bond [description of property]:
        ❑ RULE 5 - Defendant advised of right to identity hearing       ❑ Defendant waived identity hearing
        ❑ RULE 5 - Defendant reserved right to have preliminary hearing in District of Prosecution
        ❑ RULE 5 - Defendant elected to have detention hearing in District of Prosecution
  /     ❑ RULE 5 - DEFENDANT ADVISED OF RIGHT TO RULE 20 TRANSFER
[~ PRELIMINARY/DETENTION/                                 CONTINUED TO:

❑ GRAND JURY WAIVED IN OPEN COURT                 [Defendant sworn and advised of rights by Court]
❑ ARRAIGNMENT
     ❑ Defendant acknowledges he/she has copy of Indictment/Information ❑ Court advised Def. of penalties
     ❑ Defendant waives reading thereof           ❑ Indictment/Information read to defendant by Judge
     PLEA: ❑ GUILTY        ❑ NOT GUILTY           ❑ Defendant intends to plead guilty and case referred to DJ




       DATE:         ~ ~ 7' 2 ~                        TOTAL TIMEt            01AAk
       BEGIN TIME:        —2 ; 3 C`~                    END TIME:
       Digitally Recorded

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